 

Case: 1:17-cv-05750 Document #: 9 Filed: 11/20/17 Page 1 of 5 PagelD #:33 AS

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS - EASTERN DIVISION

 

HANNAH RAQUEL NUSZEN,
Plaintiff,
V.

JACK NUSZEN; SHANNON ORAND
NUSZEN; NORMA WILLCOCKSON
a/k/a WILLCOXSON; MELVIN
WILLCOCKSON a/k/a
WILLCOXSON; DR. KAREN
GOLLAHER; SAGE EDUCATIONAL
GROUP; ASPEN INSTITUTE FOR
BEHAVIORAL ASSESSMENT; DR.

JEFFREY J. WILSON; DR. JOSHUA J.

CLUFF; DR. BRANDON S. PARK;
NEW HAVEN RESIDENTIAL
TREATMENT CENTER; DAYNA
BUXTON; JESSICA ENDRES; DAVE
ARCHER; JOHN and JANE DOES 1-
100,

Defendant(s).

 

CASE NO.

1:17-cv-05750

WV

FILED

NOV 20 2017

THOMAS G. BRUTON
CLERK, U.S. DISTRICT COURT

PLAINTIFF’S MOTION TO REINSTATE

AND ADD DEFENDANT

Plaintiff HANNAH RAQUEL NUSZEN hereby submits a Motion to Reinstate in

accordance with Rule 4(m) of the Federal Rules of Civil Procedure and to Add Defendant in

accordance with Rule 19 of the Federal Rules of Civil Procedure in this matter.

I. The Plaintiff Did Not Delay Process.

Fed.R.Civ.P. 4(m) states, “Unless the court orders otherwise, any required response to an

amended pleading must be made within the time remaining to respond to the original pleading or

within 14 days after service of the amended pleading, whichever is later.”
 

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This is a case where the Defendants JACK NUSZEN and SHANNON ORAND NUSZEN
are guilty of child abduction under Tex. Penal Code S 25.03 (Interference of Custody) having paid
Defendants NORMA WILLCOCKSON a/k/a WILLCOXSON and MELVIN WILLCOCKSON
a/k/a WILLCOXSON to have me forcibly taken from school and transported across state lines,
against my free will, and intentionally concealing my whereabouts over a long, extended period of
time. The Defendant's NORMA WILLCOCKSON a/k/a WILLCOXSON and MELVIN
WILLCOCKSON a/k/a WILLCOXSON are guilty of child abduction under the Tex. Penal Code
S 25.031 (a) (Agreement to Abduct From Custody).

These are serious and egregious offenses and the Defendants should not be permitted to
profit and enjoy unjust enrichment from crimes that were perpetrated on me and the Court.

There has been problems getting some of the Defendants served as Hurricane Harvey
caused people to be displaced and there has been an issue with locating them to provide proper
service.

I. |©Amended Complaint is Warranted.

Fed.R.Civ.P. 19 states that “a party is necessary to a lawsuit when one of two conditions
arise: (1) the party must be present in order to award ‘complete relief’, or (2) the party has an
interest in the action so that his or her interest cannot be represented and protected without that
party appearing in the lawsuit. This also applies when the party's absence may expose other parties
to double or inconsistent outcomes. gives the Court the authority to strike the responsive pleading
if the response is not filed within the time required.”

Fed. R. Civ. P. 15(a) provides that leave to amend should “be freely given when justice so
requires.”

The Complaint was filed and included Aspen Institute for Behavioral, however, it has since
been learned that the facility has modified its name and it now calling itself Viewpoint Center. The

fictitious names of John and Jane Does 1-100 were included as Defendants for just such a
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circumstance. Therefore, I respectfully request that the Viewpoint Center be added as a Defendant
and to the caption heading in this matter.

iI. Conclusion.

In short, Plaintiff did not willfully delay any part of the process. The natural disaster of
Hurricane Harvey impeded the process server as did the Defendants who were notified about the
Complaint who have willfully and purposefully avoided service. Further, an amended Complaint
is justified in this matter as it was discovered that one of the Defendants modified their identity
and the names of John and Jane Does 1-100 were included to ensure that the Plaintiff could add
unidentified defendants at a future date.

Respectfully submitted,

Dated: November 8, 2017 /s/ Hannah Raquel Nuszen
HANNAH RAQUEL NUSZEN

5707 N. CHRISTIANA AVENUE
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Miriamb12969@gmail.com
PLAINTIFF, Pro se

 

 
 

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CERTIFICATION OF SERVICE

I hereby certify that copies of this document for served upon the Parties at the addresses

listed below via USPS certified mail, return receipt requested and email.

Norma Willcockson and Melvin Willcockson
Guardians of Hope

1915 North Frazier #104

Conroe, Texas 77301

Jack Nuszen and Shannon Orand Nuszen
c/o Golda R. Jacob, Esq.

440 Louisiana St #1500

Houston, TX 77002

Golda R. Jacob, Esq. and Golda R. Jacob and Associates
440 Louisiana St #1500
Houston, TX 77002

Dr. Karen Gollaher
9100 Southwest Fwy # 152
Houston, TX 77074

Sage Educational Group
3730 Kirby Dr #520
Houston, TX 77098

Viewpoint Center
2732 W 27008
Syracuse, UT 84075

Aspen Institute For Behavioral Assessment
2732 W 2700S
Syracuse, UT 84075

Dr. Jeffrey Wilson
2732 W 27008
Syracuse, UT 84075

New Haven Residential Treatment Center
2172 East 7200 South
Spanish Fork, UT 84660

Dr. Bill Bunn
2172 East 7200 South
Spanish Fork, UT 84660
 

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Dr. Lynda Baum
2172 East 7200 South
Spanish Fork, UT 84660

Dated: November 8, 2017 /s/ Hannah Raquel Nuszen
HANNAH RAQUEL NUSZEN

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